                               Case 6:19-bk-00511-KSJ                            Doc 92         Filed 02/08/19           Page 1 of 38




 Fill in this information to identify the case:

 Debtor name         IPS Worldwide, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         6:19-bk-00511
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 8, 2019                        X /s/ William Davies
                                                                       Signature of individual signing on behalf of debtor

                                                                       William Davies
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                     Case 6:19-bk-00511-KSJ                                          Doc 92                 Filed 02/08/19                        Page 2 of 38

 Fill in this information to identify the case:

 Debtor name            IPS Worldwide, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)               6:19-bk-00511
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       13,593,883.60

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       13,593,883.60


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       51,656,126.77


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         51,656,126.77




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                               Case 6:19-bk-00511-KSJ                       Doc 92       Filed 02/08/19       Page 3 of 38

 Fill in this information to identify the case:

 Debtor name         IPS Worldwide, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         6:19-bk-00511
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Bank of America                                          General                      2206                                             $0.00




           3.2.    Bank of America                                          General                      4157                                $2,641,776.55




           3.3.    Bank of America                                          General                      9587                                     $7,563.18




           3.4.    Bank of America                                          General                      7431                                       $877.68




           3.5.    Bank of America                                          Investment                   6453                                  $100,000.00




           3.6.    Bank of America                                          Investment                   1445                                    $12,820.14




           3.7.    Bank of America                                          General                      4221                                  $172,013.78

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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                               Case 6:19-bk-00511-KSJ                       Doc 92      Filed 02/08/19       Page 4 of 38

 Debtor           IPS Worldwide, LLC                                                         Case number (If known) 6:19-bk-00511
                  Name




           3.8.    Bank of America                                          General                      4205                        $195,164.17




           3.9.    Bank of America                                          General                      4213                        $668,560.00



           3.10
           .    Bank of America                                             General                      4239                        $240,144.32



           3.11
           .    Bank of America                                             General                      1020                        $845,613.98



           3.12
           .    Bank of America                                             General                      1012                       $1,548,669.75



           3.13
           .    Bank of America                                             General                      1018                            $8,804.12



           3.14
           .    Bank of America                                             Operating                    1046                          $24,207.42



           3.15
           .    Bank of America (Brussells)                                 General                      8033                            $8,033.00



           3.16
           .    Bank of America (Brussells)                                 General                      4016                                $21.36



           3.17
           .    Bank of America (Brussells)                                 General                      1016                                  $2.42



           3.18
           .    Bank of America (Brussells)                                 General                      8017                          $11,430.84



           3.19
           .    Bank of America (Brussells)                                 General                      8025                        $125,462.15



           3.20
           .    Bank of America (Brussells)                                 General                      2012                                $59.59



           3.21
           .    Bank of America (Brussells)                                 General                      2015                            $3,890.06

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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                               Case 6:19-bk-00511-KSJ                       Doc 92       Filed 02/08/19      Page 5 of 38

 Debtor         IPS Worldwide, LLC                                                           Case number (If known) 6:19-bk-00511
                Name




           3.22
           .    Bank of America (Brussells)                                 General                      9018                                  $5.48



           3.23
           .    Bank of America                                             General                      2021                        $625,206.17



           3.24
           .    Chase Bank                                                  Investment                   6197                              $276.50



           3.25
           .    ITAU Bank                                                   Operating                    5340                          $11,707.34



           3.26
           .    Region's Bank                                               Operating                    1563                        $250,750.55



           3.27
           .    Region's Bank                                               Investment                   0403                          $14,918.39



           3.28
           .    Region's Bank                                               Investment                   1588                          $10,221.94



           3.29
           .    TD Bank                                                     General                      3380                                  $0.00



           3.30
           .    TD Bank                                                     General                      9500                        $554,111.06



           3.31
           .    Wells Fargo                                                 Operating                    0356                        $273,171.36



           3.32
           .    PNC                                                         Investment                   4842                          $10,501.61



           3.33
           .    Bank of America                                             General                      0348                          $15,782.91



           3.34
           .    Bank of America                                             General                      5585                        $990,015.76



           3.35
           .    Bank of America                                             General                      7075                        $980,214.37

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                               Case 6:19-bk-00511-KSJ                        Doc 92       Filed 02/08/19          Page 6 of 38

 Debtor         IPS Worldwide, LLC                                                             Case number (If known) 6:19-bk-00511
                Name




           3.36
           .    Bank of America                                              General                         7088                      $493,521.77



           3.37
           .    Wilmington Trust                                             Investment                      0969                     $1,014,113.32



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                      $11,859,633.04
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            696,694.71   -                                0.00 = ....               $696,694.71
                                              face amount                        doubtful or uncollectible accounts



           11a. 90 days old or less:                         1,000,055.85    -                                0.00 = ....             $1,000,055.85
                                              face amount                        doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                       $1,696,750.56
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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                               Case 6:19-bk-00511-KSJ                       Doc 92      Filed 02/08/19       Page 7 of 38

 Debtor         IPS Worldwide, LLC                                                            Case number (If known) 6:19-bk-00511
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Misc. Office Furniture and fixtures in
           worldwide offices                                                           Unknown                                          $25,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Misc. computer equipment and software                                       Unknown                                            Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $25,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2014 Ford Flex                                                    Unknown       Comparable sale                    $12,500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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                               Case 6:19-bk-00511-KSJ                       Doc 92      Filed 02/08/19        Page 8 of 38

 Debtor         IPS Worldwide, LLC                                                           Case number (If known) 6:19-bk-00511
                Name

            machinery and equipment)

 51.        Total of Part 8.                                                                                                        $12,500.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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                                  Case 6:19-bk-00511-KSJ                                 Doc 92             Filed 02/08/19               Page 9 of 38

 Debtor          IPS Worldwide, LLC                                                                                  Case number (If known) 6:19-bk-00511
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                      $11,859,633.04

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,696,750.56

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $25,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $12,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $13,593,883.60             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $13,593,883.60




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 7
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                              Case 6:19-bk-00511-KSJ                   Doc 92       Filed 02/08/19           Page 10 of 38

 Fill in this information to identify the case:

 Debtor name         IPS Worldwide, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         6:19-bk-00511
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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                              Case 6:19-bk-00511-KSJ                         Doc 92            Filed 02/08/19                Page 11 of 38

 Fill in this information to identify the case:

 Debtor name         IPS Worldwide, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)           6:19-bk-00511
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Advanced Business Capital
           d/b/a Triumph Business                                               Contingent
           c/o Ullman & Ullman, P.A.                                            Unliquidated
           7700 W. Camino Real, Ste 401                                         Disputed
           Boca Raton, FL 33433
                                                                             Basis for the claim:    Payment for Freight Services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Alclara                                                              Contingent
           945 Hornet Drive
                                                                                Unliquidated
           Hazelwood, MO 63042
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Alcoa                                                                Contingent
           6603 West Broad Street
                                                                                Unliquidated
           Richmond, VA 23230
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Amcor                                                                Contingent
           935 Technology Drive
                                                                                Unliquidated
           Suite 100
           Ann Arbor, MI 48108                                                  Disputed

           Date(s) debt was incurred                                         Basis for the claim:    Payment For Freight Services
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 11
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                              Case 6:19-bk-00511-KSJ                         Doc 92            Filed 02/08/19                Page 12 of 38

 Debtor       IPS Worldwide, LLC                                                                      Case number (if known)            6:19-bk-00511
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          American Express                                                      Contingent
          P.O. Box 360002                                                       Unliquidated
          Fort Lauderdale, FL 33336-0002                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit card purchases
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $660,067.52
          Arcelor Mittal                                                        Contingent
          3001 Dickey Road
                                                                                Unliquidated
          East Chicago, KS 66211
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $631,864.00
          Arconic                                                               Contingent
          6603 West Broad Street
                                                                                Unliquidated
          Richmond, VA 23230
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Arris Tech                                                            Contingent
          2226 Galvin Drive
                                                                                Unliquidated
          Elgin, IL 60123
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Atkore International                                                  Contingent
          16100 S Lathrop Avenue
                                                                                Unliquidated
          Harvey, IL 60426
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          AVOX Systems, Inc                                                     Contingent
          25 Walter Winter Drive
                                                                                Unliquidated
          Lancaster, NY 14086
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          B3 Diagnostic Laboratory                                              Contingent
          1307 Alen Drive
                                                                                Unliquidated
          Suite A
          Troy, MI 48083                                                        Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Payment For Freight Services
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 11
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                              Case 6:19-bk-00511-KSJ                         Doc 92            Filed 02/08/19                Page 13 of 38

 Debtor       IPS Worldwide, LLC                                                                      Case number (if known)            6:19-bk-00511
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $732,408.67
          Bio-Rad Laboratories                                                  Contingent
          1000 Alfred Nobel Drive
                                                                                Unliquidated
          Hercules, CA 94547
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $737,980.20
          Bossard Industrial Products                                           Contingent
          2925 Morton Drive
                                                                                Unliquidated
          East Moline, IL 61244
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Brady Worldwide                                                       Contingent
          2221 W. Camden Road
                                                                                Unliquidated
          Milwaukee, WI 53209
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Capital Lighting                                                      Contingent
          5359 Rafe Banks Drive
                                                                                Unliquidated
          Flowery Branch, GA 30542
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Chevron                                                               Contingent
          West End of 7th Street
                                                                                Unliquidated
          Port Arthur, TX 77640
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $125,404.66
          Colgate Palmolive Company
          c/o Stephanie Lieb                                                    Contingent
          101 E. Kenneday Boulevard                                             Unliquidated
          Suite 2700                                                            Disputed
          Tampa, FL 33602
                                                                             Basis for the claim:    Payment For Freight Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Concast Metal                                                         Contingent
          14315 State Rt. 113
                                                                                Unliquidated
          Birmingham, OH 44816
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 11
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                              Case 6:19-bk-00511-KSJ                         Doc 92            Filed 02/08/19                Page 14 of 38

 Debtor       IPS Worldwide, LLC                                                                      Case number (if known)            6:19-bk-00511
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          EFreight Solutions                                                    Contingent
          975 Cobb Place Boulevard
                                                                                Unliquidated
          Kennesaw, GA 30144
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $544,827.79
          Elo TouchSystems                                                      Contingent
          300 Constitution Drive
                                                                                Unliquidated
          Menlo Park, CA 94025
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          ExFreight Zeta, LLC                                                   Contingent
          c/o Michael Kaufman, P.A.
                                                                                Unliquidated
          1615 Forum Place, Suite 3A
          West Palm Beach, FL 33401                                             Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Payment For Freight Services
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Fluidigm                                                              Contingent
          7000 Shoreline Court
                                                                                Unliquidated
          Suite 100
          South San Francisco, CA 94080                                         Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Payment For Freight Services
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Fristam Pumps USA                                                     Contingent
          2410 Parview Road
                                                                                Unliquidated
          Middleton, WI 53562
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          General Electric Int'l                                                Contingent
          4211 Metro Parkway
                                                                                Unliquidated
          Fort Myers, FL 33916
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,093,250.70
          Gilbraltar Industries                                                 Contingent
          3556 Lake Shore Road
                                                                                Unliquidated
          Buffalo, NY 14201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 11
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                              Case 6:19-bk-00511-KSJ                         Doc 92            Filed 02/08/19                Page 15 of 38

 Debtor       IPS Worldwide, LLC                                                                      Case number (if known)            6:19-bk-00511
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Global Tranz Enterprises
          Quarles & Brady LLP                                                   Contingent
          101 East Kennedy Blvd.                                                Unliquidated
          Suite 3400                                                            Disputed
          Tampa, FL 33602
                                                                             Basis for the claim:    Payment For Freight Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Harris Tea Company                                                    Contingent
          344 New Albany Road
                                                                                Unliquidated
          Moorestown, NJ 08057
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $266,878.92
          Infineon                                                              Contingent
          30805 Santana Street
                                                                                Unliquidated
          Hayward, CA 94544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $855,571.68
          Integrated Supply Network                                             Contingent
          2727 Interstate Drive
                                                                                Unliquidated
          Lakeland, FL 33805
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Jensen Tools/Test Equity                                              Contingent
          7815 S. 46th Street
                                                                                Unliquidated
          Phoenix, AZ 85044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $411,015.40
          JL French                                                             Contingent
          3101 S. Taylor Drive
                                                                                Unliquidated
          Sheboygan, WI 53082
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,012,211.12
          KTM Motorcycles                                                       Contingent
          30100 Technology Drive
                                                                                Unliquidated
          Murrieta, CA 92563
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 11
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                              Case 6:19-bk-00511-KSJ                         Doc 92            Filed 02/08/19                Page 16 of 38

 Debtor       IPS Worldwide, LLC                                                                      Case number (if known)            6:19-bk-00511
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Laticrete International                                               Contingent
          1 Laticrete Park North
                                                                                Unliquidated
          Bethany, CT 06524
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Life Technologies                                                     Contingent
          5791 Van Allen Way
                                                                                Unliquidated
          Carlsbad, CA 92008
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          McLauglin Body Company                                                Contingent
          2430 River Drive
                                                                                Unliquidated
          Moline, IL 61265
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Motorola                                                              Contingent
          2100 East Elliot
                                                                                Unliquidated
          Tempe, AZ 85284
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          MSC Direct                                                            Contingent
          75 Maxess Road
                                                                                Unliquidated
          Melville, NY 11747
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Natural Gas Solutions                                                 Contingent
          16240 Port Northwest
                                                                                Unliquidated
          Houston, TX 77041
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Neogen                                                                Contingent
          620 Lesher Place
                                                                                Unliquidated
          Lansing, MI 48912
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 11
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                              Case 6:19-bk-00511-KSJ                         Doc 92            Filed 02/08/19                Page 17 of 38

 Debtor       IPS Worldwide, LLC                                                                      Case number (if known)            6:19-bk-00511
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          NuVasive, Inc.
          c/o Edwin Rice                                                        Contingent
          Bradley Arant Boult Cummings                                          Unliquidated
          100 N. Tampa St.., Ste 2200                                           Disputed
          Tampa, FL 33602
                                                                             Basis for the claim:    Payment For Freight Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Oral-B Laboratories                                                   Contingent
          8700 Mason Montgomery Road
                                                                                Unliquidated
          Mason, OH 45040
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Pitney Bowes                                                          Contingent
          37 Executive Drive
                                                                                Unliquidated
          Danbury, CT 06810
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Regal Beloit Corp (RBC)                                               Contingent
          6450 W. Hanna Avenue
                                                                                Unliquidated
          Indianapolis, IN 46241
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Rexnord                                                               Contingent
          4701 W. Greenfield Avenue
                                                                                Unliquidated
          Milwaukee, WI 53214
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Riverside Group                                                       Contingent
          225 North Michigan Avenue
                                                                                Unliquidated
          Chicago, IL 60601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          RM Acquisition LLC                                                    Contingent
          d/b/a Rand McNally
                                                                                Unliquidated
          9855 Woods Drive
          Skokie, IL 60077                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Software Provider
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 11
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                              Case 6:19-bk-00511-KSJ                         Doc 92            Filed 02/08/19                Page 18 of 38

 Debtor       IPS Worldwide, LLC                                                                      Case number (if known)            6:19-bk-00511
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SCM Metal Products                                                    Contingent
          2601 Weck Drive
                                                                                Unliquidated
          Durham, NC 27709
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sheboygan Paint                                                       Contingent
          608 Canal Street
                                                                                Unliquidated
          Cedartown, GA 30125
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Siemens Gamesa Energy                                                 Contingent
          3500 Quadrangle Boulevard
                                                                                Unliquidated
          Orlando, FL 32817
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sparton                                                               Contingent
          5612 Johnson Lake Road
                                                                                Unliquidated
          De Leon Springs, FL 32130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $34,991,740.94
          Stanley                                                               Contingent
          1000 Stanley Drive
                                                                                Unliquidated
          Concord, NC 28027
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Subcom                                                                Contingent
          100 Piscataqua Drive
                                                                                Unliquidated
          Portsmouth, NH 03801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,118,549.75
          Suez WaterTech & Solutions                                            Contingent
          4636 Somerton Road
                                                                                Unliquidated
          Feasterville Trevos, PA 19053
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 8 of 11
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                              Case 6:19-bk-00511-KSJ                         Doc 92            Filed 02/08/19                Page 19 of 38

 Debtor       IPS Worldwide, LLC                                                                      Case number (if known)            6:19-bk-00511
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Symmetricom                                                           Contingent
          2300 Orchard Parkway
                                                                                Unliquidated
          San Jose, CA 95131
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Synchrony Financial                                                   Contingent
          170 Election Road
                                                                                Unliquidated
          Stamford, CT 06927
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          TestEquity/Jensen Tools                                               Contingent
          7815 S 46th Street
                                                                                Unliquidated
          Phoenix, AZ 85044
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          True Value Co - Advertising                                           Contingent
          320 S. Division Street
                                                                                Unliquidated
          Harvard, IL 60033
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $916,887.26
          Tyco Electronics                                                      Contingent
                                                                                Unliquidated
          Exeter, NH 03833
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          UTC Fire and Security                                                 Contingent
          4211 Metro Parkway
                                                                                Unliquidated
          Fort Myers, FL 33916
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Verogen                                                               Contingent
          11111Flintkote Avenue
                                                                                Unliquidated
          San Diego, CA 92121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 11
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                              Case 6:19-bk-00511-KSJ                         Doc 92            Filed 02/08/19                Page 20 of 38

 Debtor       IPS Worldwide, LLC                                                                      Case number (if known)            6:19-bk-00511
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Wabash National                                                       Contingent
          3233 Kossuth Street
                                                                                Unliquidated
          Lafayette, IN 47905
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $310,786.30
          Watlow                                                                Contingent
          12001 Lackland Road
                                                                                Unliquidated
          Saint Louis, MO 63146
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $610,092.31
          Wayne                                                                 Contingent
          3814 Jarrett Way
                                                                                Unliquidated
          Austin, TX 78728
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $414,723.19
          Xerium Technologies                                                   Contingent
          1401 Capital Blvd
                                                                                Unliquidated
          Youngsville, NC 27596
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          XPO Logistics
          c/o Deborah Fletcher                                                  Contingent
          Fisher Broyles, LLP                                                   Unliquidated
          6000 Fairview Rd, Ste 1200                                            Disputed
          Charlotte, NC 28210
                                                                             Basis for the claim:    Payment For Freight Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,057,406.00
          YRC Freight                                                           Contingent
          10990 Roe Avenue
                                                                                Unliquidated
          Overland Park, KS 66211
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,164,460.36
          Zekelman Industries                                                   Contingent
          900 Haddon Avenue
                                                                                Unliquidated
          Collingswood, NJ 08108-9200
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Payment For Freight Services
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 10 of 11
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                              Case 6:19-bk-00511-KSJ                         Doc 92        Filed 02/08/19                 Page 21 of 38

 Debtor       IPS Worldwide, LLC                                                                   Case number (if known)          6:19-bk-00511
              Name

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
 4.1       Leanne McKnight Prendergast
           Fisher Broyles, LLP                                                                    Line     3.65
           12620 Beach Boulevard
                                                                                                         Not listed. Explain
           Suite 3, #126
           Jacksonville, FL 32246


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                         0.00
 5b. Total claims from Part 2                                                                        5b.    +     $                51,656,126.77

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                   51,656,126.77




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 11 of 11
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                              Case 6:19-bk-00511-KSJ                     Doc 92      Filed 02/08/19            Page 22 of 38

 Fill in this information to identify the case:

 Debtor name         IPS Worldwide, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         6:19-bk-00511
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Office lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                           American Real Estate Partner
                                                                                     161 Washington St
              List the contract number of any                                        Suite 1375
                    government contract                                              Conshohocken, PA 19428


 2.2.         State what the contract or                  Office Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     Borsa Properties, LLC
              List the contract number of any                                        P. O. Box 166633
                    government contract                                              Miami, FL 33116


 2.3.         State what the contract or                  Office lease of Room
              lease is for and the nature of              901, 9/F, CC Wu
              the debtor's interest                       Building, $4,960 per
                                                          month
                  State the term remaining                                           CC Wu International
                                                                                     302-308 Hennessy Road
              List the contract number of any                                        Wanchai
                    government contract                                              HONG KONG


 2.4.         State what the contract or                  Office lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                           OLMO
                                                                                     Rua Restinga
              List the contract number of any                                        Sao Paulo 03065
                    government contract                                              BRAZIL




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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                              Case 6:19-bk-00511-KSJ                             Doc 92   Filed 02/08/19          Page 23 of 38
 Debtor 1 IPS Worldwide, LLC                                                                      Case number (if known)   6:19-bk-00511
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.5.        State what the contract or                   Office Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                          Root Executive Park
             List the contract number of any                                              275 Clyde Morris Blvd.
                   government contract                                                    Ormond Beach, FL 32174




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 2 of 2
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                              Case 6:19-bk-00511-KSJ                    Doc 92       Filed 02/08/19        Page 24 of 38

 Fill in this information to identify the case:

 Debtor name         IPS Worldwide, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         6:19-bk-00511
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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                              Case 6:19-bk-00511-KSJ                         Doc 92          Filed 02/08/19             Page 25 of 38




 Fill in this information to identify the case:

 Debtor name         IPS Worldwide, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         6:19-bk-00511
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                   Gross revenue
       which may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                        $692,431.42
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                      $8,641,360.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                      $7,014,710.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue    Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

       For prior year:
       From 1/01/2018 to 12/31/2018                                                            Interest Income                                   $76,838.00


       For prior year:
       From 1/01/2018 to 12/31/2018                                                            Misc.                                                $184.00


       For year before that:
       From 1/01/2017 to 12/31/2017                                                            Interest Income                                   $78,219.00


       For year before that:
       From 1/01/2017 to 12/31/2017                                                            Misc.                                              $2,878.00


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
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                              Case 6:19-bk-00511-KSJ                          Doc 92         Filed 02/08/19             Page 26 of 38
 Debtor       IPS Worldwide, LLC                                                                        Case number (if known) 6:19-bk-00511




 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Debtor is compiling this information and will                       Dates                 Total amount of value           Reasons for payment or transfer
       supplement this response accordingly                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       None, other than salary disclosed herein in                         Dates                 Total amount of value           Reasons for payment or transfer
       response to question 30.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Blue-Grace vs. Integrated                         Civil                      Hillsborough County Clerk                    Pending
               Supply Network and IPS                                                       of Court                                     On appeal
               Worldwide, LLC.                                                                                                           Concluded
               18-CA-5461

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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                              Case 6:19-bk-00511-KSJ                            Doc 92          Filed 02/08/19           Page 27 of 38
 Debtor        IPS Worldwide, LLC                                                                           Case number (if known) 6:19-bk-00511



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                           Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss            Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                Total amount or
                the transfer?                                                                                                                                value
                Address
       11.1.    The Law Offices of Scott W.                          Attorney Fees paid prepetition for post
                Spradley, P.                                         petition retainer in the sum of $45,000. The
                P. O. Box 1                                          debtor also paid $5000 prepetition for
                109 South 5th Street                                 prepetion legal services, for a total paid of
                Flagler Beach, FL 32136                              $50,000 plus the filing fee.                              1-24-19                  $45,000.00

                Email or website address
                scott@flaglerbeachlaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers             Total amount or
                                                                                                                        were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                   Date transfer             Total amount or
               Address                                           payments received or debts paid in exchange              was made                           value



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
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                              Case 6:19-bk-00511-KSJ                         Doc 92          Filed 02/08/19             Page 28 of 38
 Debtor       IPS Worldwide, LLC                                                                        Case number (if known) 6:19-bk-00511



               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1                                                      The debtor and Huntley intended to close
       .                                                         a business transaction on or before the
                                                                 commencement of this case. The
               Steven Huntley                                    transaction is the subject of a motion to
               Resource Logistics Group                          declare asset purchase agreement null
               10432 North Barnsley Drive                        and void filed by RLG on February 8,
               Parkland, FL 33076                                2019.                                                   1-25-19                        Unknown

               Relationship to debtor
               former employee


       13.2                                                      lot located at 628 River View Road,
       .    Mark E. Kennedy                                      Flagler Beach, FL 32136. Net sale
               628 River View Road                               proceeds were deposited into the
               Flagler Beach, FL 32136                           Debtor's Regions Bank bank account                      1-25-19                     $335,000.00

               Relationship to debtor
               none


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Customer name, address and tax identification number
                  Does the debtor have a privacy policy about that information?
                    No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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                              Case 6:19-bk-00511-KSJ                         Doc 92          Filed 02/08/19             Page 29 of 38
 Debtor      IPS Worldwide, LLC                                                                         Case number (if known) 6:19-bk-00511



 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was             Last balance
              Address                                            account number           instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Sonny's Transfer Moving and Storage                           Bill Davies                          Used Office Furniture                    No
       21 Pennsylvania Ave                                                                                                                         Yes
       Cumberland, MD 21502

       Orchard Oaks                                                  Bill Davies                          Used Office Furniture                    No
       27 S Orchard St                                                                                                                             Yes
       Ormond Beach, FL 32174



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                             Value
       Alcoa                                                         Bank of America                      Bank Account ending in 7720             $488,470.50
       6603 West Broad Street
       Richmond, VA 23230

       Owner's name and address                                      Location of the property             Describe the property                             Value
       Atkore International                                          Bank of America                      Bank Account ending in 4522                 $2,672.99
       16100 S Lathrop Avenue
       Harvey, IL 60426

       Owner's name and address                                      Location of the property             Describe the property                             Value
       Integrated Supply Network                                     Bank of America                      Bank Account ending in 5136             $464,411.86
       2727 Interstate Drive
       Lakeland, FL 33805

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 5
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                              Case 6:19-bk-00511-KSJ                         Doc 92          Filed 02/08/19             Page 30 of 38
 Debtor      IPS Worldwide, LLC                                                                         Case number (if known) 6:19-bk-00511



       Owner's name and address                                      Location of the property             Describe the property                           Value
       Stanley                                                       Bank of America                      Bank Account ending in 6533                     $0.00
       1000 Stanley Drive
       Concord, NC 28027

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Gilbraltar Industries                                         Bank of America                      Bank Account ending in 6546           $319,789.51
       3556 Lake Shore Road
       Buffalo, NY 14201

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Rexnord                                                       Bank of America                      Bank Account ending in 7023          $5,501,041.10
       4701 W. Greenfield Avenue
       Milwaukee, WI 53214

       Owner's name and address                                      Location of the property             Describe the property                           Value
       YRC Freight                                                   Bank of America                      Bank Account ending in 1819          $2,914,778.16
       10990 Roe Avenue
       Overland Park, KS 66211

       Owner's name and address                                      Location of the property             Describe the property                           Value
       ComData                                                       Bank of America                      Bank Account ending in 0066             $70,541.96


       Owner's name and address                                      Location of the property             Describe the property                           Value
       Watlow                                                        Bank of America                      Bank Account ending in 2296           $377,338.23
       12001 Lackland Road
       Saint Louis, MO 63146

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Zekelman Industries                                           Bank of America                      Bank Account ending in 4797           $873,375.96
       900 Haddon Avenue
       Collingswood, NJ 08108-9200

       Owner's name and address                                      Location of the property             Describe the property                           Value
       NuVasive, Inc.                                                Bank of America                      Bank Account ending in 5650           $155,825.56
       c/o Edwin Rice
       Bradley Arant Boult Cummings
       100 N. Tampa St.., Ste 2200
       Tampa, FL 33602

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Sheboygan Paint                                               Bank of America                      Bank Account ending in 5663               $7,913.05
       608 Canal Street
       Cedartown, GA 30125

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Laticrete International                                       Bank of America                      Bank Account ending in 2633           $769,375.51
       1 Laticrete Park North
       Bethany, CT 06524

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Neogen                                                        Bank of America                      Bank Account ending in 2646           $326,425.11
       620 Lesher Place
       Lansing, MI 48912

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Wabash National                                               Bank of America                      Bank Account ending in 2659             $20,513.70
       3233 Kossuth Street
       Lafayette, IN 47905


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 6
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                              Case 6:19-bk-00511-KSJ                         Doc 92          Filed 02/08/19             Page 31 of 38
 Debtor      IPS Worldwide, LLC                                                                         Case number (if known) 6:19-bk-00511



       Owner's name and address                                      Location of the property             Describe the property                            Value
       Fluidigm                                                      Bank of America                      Bank Account ending in 2675              $81,923.37
       7000 Shoreline Court
       Suite 100
       South San Francisco, CA 94080

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Synchrony Financial                                           Bank of America                      Bank Account ending in 2688              $81,923.37
       170 Election Road
       Stamford, CT 06927

       Owner's name and address                                      Location of the property             Describe the property                            Value
       General Electric Int'l                                        Bank of America                      Bank Account ending in 2691          $4,253,499.18
       4211 Metro Parkway
       Fort Myers, FL 33916

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Gilbraltar Industries                                         Wilmington Trust                     Bank Account ending in 0969          $1,014,113.32
       3556 Lake Shore Road
       Buffalo, NY 14201

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Alcoa                                                         Bank of America                      Bank Account ending in 0348              $15,782.91
       6603 West Broad Street
       Richmond, VA 23230

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Arcelor Mittal                                                Bank of America                      Bank Account ending in 5585            $990,015.76
       3001 Dickey Road
       East Chicago, KS 66211

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Bio-Rad Laboratories                                          Bank of America                      Bank Account ending in 7088            $493,521.77
       1000 Alfred Nobel Drive
       Hercules, CA 94547


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 7
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                              Case 6:19-bk-00511-KSJ                         Doc 92          Filed 02/08/19             Page 32 of 38
 Debtor      IPS Worldwide, LLC                                                                         Case number (if known) 6:19-bk-00511



       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

             No.
             Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

            None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    ExFreight Zeta, LLC                              The business is a shipping                       EIN:         XX-XXXXXXX
             2290 10th Avenue                                 company of which the debtor
             Suite 501                                        owns 51%.                                        From-To      10-16-17 to present
             Lake Worth, FL 33461


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Klayer & Associates                                                                                                        2016 to present
                    1275 W. Granada Blvd
                    Suite 4C
                    Ormond Beach, FL 32174

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Klayer & Associates
                    1275 W. Granada Blvd
                    Suite 4C
                    Ormond Beach, FL 32174

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
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                              Case 6:19-bk-00511-KSJ                         Doc 92          Filed 02/08/19             Page 33 of 38
 Debtor       IPS Worldwide, LLC                                                                        Case number (if known) 6:19-bk-00511




            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Bill Davies                                    265 Clyde Morris Blvd, Ste 100                      Managing Member                       67%
                                                      Ormond Beach, FL 32174

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael McNett                                 265 Clyde Morris Blvd, Ste 100                      Vice President                        22%
                                                      Ormond Beach, FL 32174

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jacques McNett                                 265 Clyde Morris Blvd, Ste 100                      Vice President                        11%
                                                      Ormond Beach, FL 32174



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1                                                                                                              1/30/18,
       .                                                                                                                 2/20/18,
                                                                                                                         3/29/18,
                                                                                                                         4/27/18,
                                                                                                                         5/15/18,
                                                                                                                         6/01/18,
                                                                                                                         6/29/18,
                                                                                                                         7/25/18,
                                                                                                                         8/03/18,
                                                                                                                         8/30/18,
               Bill Davies                                                                                               9/14/18,
               265 Clyde Morris Blvd, Ste                                                                                9/28/18,
               100                                                                                                       10/26/18,
               Ormond Beach, FL 32174                            $210,000 total ($15,000 per check)                      11/30/18           Salary

               Relationship to debtor
               Manager




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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                              Case 6:19-bk-00511-KSJ                         Doc 92          Filed 02/08/19             Page 34 of 38
 Debtor       IPS Worldwide, LLC                                                                        Case number (if known) 6:19-bk-00511



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.2                                                                                                              1/31/18,
       .                                                                                                                 2/05/18,
                                                                                                                         2/26/18,
                                                                                                                         4/27/18,
                                                                                                                         4/27/18,
                                                                                                                         6/01/18,
                                                                                                                         6/27/18,
                                                                                                                         7/17/18,
                                                                                                                         8/3/18,
                                                                                                                         8/30/18,
               Michael McNett                                                                                            9/28/18,
               265 Clyde Morris Blvd, Ste                                                                                10/26/18,
               100                                                                                                       11/21/18,
               Ormond Beach, FL 32174                            $168,000 total ($12,000 per check)                      12/13/18          Salary

               Relationship to debtor
               Vice President


       30.3                                                                                                              1/31/18,
       .                                                                                                                 2/05/18,
                                                                                                                         3/29/18,
                                                                                                                         4/27/18,
                                                                                                                         5/15/18,
                                                                                                                         6/01/18,
                                                                                                                         6/29/18,
                                                                                                                         7/25/18,
                                                                                                                         8/03/18,
                                                                                                                         8/30/18,
               Jacques McNett                                                                                            9/14/18,
               265 Clyde Morris Blvd, Ste                                                                                9/28/18,
               100                                                                                                       10/26/18,
               Ormond Beach, FL 32174                            $168,000 total ($12,000 per check)                      11/30/18          Salary

               Relationship to debtor
               Vice President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
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                              Case 6:19-bk-00511-KSJ                         Doc 92          Filed 02/08/19             Page 35 of 38
 Debtor      IPS Worldwide, LLC                                                                         Case number (if known) 6:19-bk-00511



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 8, 2019

 /s/ William Davies                                                     William Davies
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 11
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                              Case 6:19-bk-00511-KSJ                        Doc 92         Filed 02/08/19              Page 36 of 38

                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
 In re      IPS Worldwide, LLC                                                                                        Case No.       6:19-bk-00511
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date February 8, 2019                                                       Signature /s/ William Davies
                                                                                            William Davies

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                              Case 6:19-bk-00511-KSJ                      Doc 92      Filed 02/08/19   Page 37 of 38




                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      IPS Worldwide, LLC                                                                         Case No.   6:19-bk-00511
                                                                                 Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       February 8, 2019                                         /s/ William Davies
                                                                      William Davies/President
                                                                      Signer/Title




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                              Case 6:19-bk-00511-KSJ                      Doc 92      Filed 02/08/19          Page 38 of 38
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re       IPS Worldwide, LLC                                                                               Case No.      6:19-bk-00511
                                                                                Debtor(s)                     Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 45,000.00
             Prior to the filing of this statement I have received                                        $                 45,000.00
             Balance Due             Additionally, $5000 in fees was earned and paid prepetition          $                       0.00

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 All aspects of Chapter 11 representation

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               All customary and necessary Chapter 11 legal services will be provided, wih the DIP to be billed at $300 per hour
               subject to court approval. Court approval will be sought as required including for replenishment of the retainer
               as appropriate.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 8, 2019                                                           /s/ Scott W. Spradley
     Date                                                                       Scott W. Spradley 782467
                                                                                Signature of Attorney
                                                                                The Law Office of Scott W. Spradley, P.A.
                                                                                P. O. Box 1
                                                                                109 South 5th Street
                                                                                Flagler Beach, FL 32136
                                                                                386 693 4935 Fax: 386 693 4937
                                                                                scott@flaglerbeachlaw.com
                                                                                Name of law firm




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